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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 321: ORDER
                                                    GRANTING MOTION FOR
   Agosta v. Monsanto Co.,                          RECONSIDERATION OF PRETRIAL
   Case No. 3:21-cv-06562-VC                        ORDER NO. 310
                                                    Re: Dkt. No. 20306



       Lead plaintiffs’ counsel is correct that the Court clearly erred in excluding Dr. Kothari’s

opinion on the ground that he failed to adequately account for random replication errors. It’s

true, as has been previously noted, that Dr. Tomasetti’s work on random replication errors is an

important contribution to the scientific debate about cancer generally and NHL specifically. Any

competent expert should be familiar with that work—particularly any competent general

causation expert. But as Tomasetti himself has explained, he will attribute a cancer to random

replication errors when the patient has not been exposed to a known environmental cause. See

Tomasetti Hearing Tr. 71:7–19. And he believes that Roundup is not a known environmental

cause. But other experts have offered admissible (albeit shaky) opinions that Roundup is, in fact,

a known environmental cause. A specific causation expert can rely on such an opinion and

perform a differential etiology that incorporates it. That’s what Kothari did here. And at his

deposition, he addressed Tomasetti’s work by explaining that Tomasetti’s analysis would have

looked “very different” had he treated Roundup as a known environmental cause. Kothari Dep.
(Dkt. No. 163:12–164:1). That’s essentially what Tomasetti says as well. Thus, assuming Agosta
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has a reliable general causation opinion to offer at trial, Kothari’s opinion should not have been

excluded for failure to adequately grapple with Tomasetti.

       This requires the Court to turn to Monsanto’s two other arguments for exclusion of

Kothari’s opinion: his alleged failure to evaluate Agosta’s exposure to Roundup and family

history. The exposure argument is easy to reject. Although Kothari may not have quantified the

exposure, his report and deposition testimony make clear that he reliably concluded that Agosta

was exposed to a lot of Roundup over a long period of time, and took that exposure into account

when conducting his differential etiology.

       Regarding family history, Monsanto has presented no evidence to rebut Kothari’s

statement in his report that none of the syndromes noted in Agosta’s family history (including

several types of non-blood cancers) “have any established strong association with non-Hodgkin

lympoma.” Kothari Report at 9. Monsanto is free to cross examine Kothari on whether a family

history of non-blood cancers is associated with increased risk for NHL.

       Accordingly, the motion for reconsideration is granted, and Monsanto’s motion to

exclude Agosta’s opinion is denied.



       IT IS SO ORDERED.

Dated: March 26, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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